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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CITIZENS F()R RESPONSIBILITY
AND ETHICS IN WASHINGT()N,
455 Massachusetts Ave., N.W.
Washington, D.C. 20001

Plaintiff,

U.S. DEPARTMENT OF THE
TREASURY,

1500 Pennsylvania Ave., N.W.
Washington, D.C. 20220

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v. ) Civil Action No.
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Defendant. )

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COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

l. This is an action under the Freedorn of Inforrnation Act (“FOIA”), 5
U.S.C. § 552, and the Deelaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, for
injunctive, declaratory, and other appropriate relief Plaintiff Citizens for Responsibility
and Ethics in Washington (“CREW”) challenges the failure of the U.S. Department of the
Treasury (“Treasury Departrnent”) to respond to its expedited request for disclosure of
records related to Treasury Secretary Steven Mnuchin’s use of a government plane to
travel With his wife to Lexington, Kentucky, as Well as records related to any other use by
Secretary Mnuehin of a government plane for travel since his appointment as Treasury
Secretary.

2. This case seeks declaratory relief that the Treasury Departrnent is in
violation of the FOIA, 5 U.S.C. § 552(a)(6)(E)(i), for failing to respond to CREW’s

expedited request for records and for injunctive relief ordering defendant Treasury

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Departnient to process and release to CREW immediately the requested records in their
entirety.
Jurisdiction and Venue

3. This Court has both subject matter jurisdiction over this action and
personal jurisdiction over the parties pursuant to 5 U.S.C. §§ 552(a)(4)(B) and
552(a)(6)(C)(i). The Court also has jurisdiction over this action pursuant to 28 U.S.C. §§
1331, 2201(a), and 2202. Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

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4. Plaintiff CREW is a non-profit, non-partisan organization organized under
section 501(0)(3) of the Internal Revenue Code. CREW is committed to protecting the
rights of citizens to be informed about the activities of government officials and agencies,
and to ensuring the integrity of government officials and agencies. CREW seeks to
empower citizens to have an influential voice in government decisions and in the
government decision-making process through the dissemination of information about
public officials and their actions. To advance its mission, CREW uses a combination of
research, litigation, and advocacy. As part of its researeh, CREW uses government
records made available to it under the FOIA.

5. Defendant Treasury Department is an agency Within the meaning of 5
U.S.C. § 552({) and 5 U.S.C. § 701. Defendant has possession and control ofthe

requested records and is responsible for fulfilling plaintiffs FOIA request.

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Statutorv and Regulatorv Background

6. The FOIA, 5 U.S.C. § 552, requires agencies of the federal government to
release requested records to the public unless one or more specific Statutory exemptions
apply.

7. An agency must respond to a party making a FOIA request within 20
working days, notifying that party of at least the agency’s determination of which ofthe
requested records it will release, Which it will Withhold and Why, and the requester’s right
to appeal the determination to the agency head. 5 U.S.C. § 552(a)(6)(A)(i).

8. The FOIA also requires agencies to promulgate regulations that provide
for expedited processing of FOIA requests where the requester demonstrates a
“compelling need” as well as “other cases determined by the agency.” 5 U.S.C. §
552(a)(6)(B)(i). The FOIA defines “compelling need” to include requests “made by a
person primarily engaged in disseminating information” where there is an “urgency to
inform the public concerning actual or alleged Federal Government activity.” la’. at §
552(3)(6)(15)(‘/)(11)-

9. Agencies are required to make a determination on a request for expedition
Within 10 calendar days “after the date of the request.” 5 U.S.C. § 552(a)(6)(E)(ii)(l).
Treasury Departrnent regulations mirror this requirement, directing that a determination
to grant or deny a request for expedition “shall be made, and the requester notified,
within 10 calendar days of the date of the request.” 31 C.F.R. § 1.5(e)(4).

10. An agency’s failure to respond within 10 calendar days to a request for

expedition is subject to judicial review Without exhausting administrative remedies 5

U.s.c. § 552(3)(6)(E)(iii).

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1 1. Agency decisions to deny or affirm denial of a request for expedition are
subject to judicial review “based on the record before the agency at the time of the
determination.” 5 U.S.C. § 552(a)(6)(E)(iii).

Factual Background

12. On August 21, 2017, Secretary Mnuchin and his wife Louise Linton, a
private citizen, travelled to Lexington, Kentucky. The purported purpose of the trip was
for the Secretary, along With Senate Majority Leader Mitch McConnell, to present
remarks at a luncheon sponsored by Greater Louisville Inc., the Louisville chamber of
commerce

13. After the luncheon, Secretary Mnuchin and his wife went to Fort Knox,
where it was reported that they toured the bullion reserve at the Army post and viewed
the solar eclipse. Fort Knox Was just outside the path of the eclipse’s totality.

14. The trip set off a public firestorm when Secretary Mnuchin’s wife posted
on lnstagram a photo of herself deplaning from a government aircraft dressed from head
to toe in luxury brands, which she identified by designer name and tagged on her
lnstagram image. In response to a comment on the post, Ms. Linton snapped back in a
post that was highly critical of the commenter and defended her lavish lifestyle and the
government-paid trip.

15. On August 23, 2017, CREW sent a FOIA request by facsimile to the
Treasury Department’s FOIA Requester Center requesting two categories of records: (1)
copies of all records concerning authorization for and the costs of Secretary Mnuchin’s
use of a government plane for his August 21 trip to Lexington, Kentucky, and (2) copies

of all records concerning authorization for and the costs of the Secretary’s use of a

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government plane for any purpose since his appointment as Treasury Secretary. The
facsimile cover sheet indicates the transmission of the request was successful.

16. CREW sought a waiver of fee associated with processing its request
CREW explained the requested records likely will shed light on the justification for
Secretary Mnuchin’s use of a government plane, rather than a commercial fiight, for a
trip that seems to have been planned around the solar eclipse and to enable the Secretary
to secure a viewpoint closer to the path of the eclipse’s totality. CREW noted that at a
time of expected deep cuts to the federal budget, the taxpayers have a significant interest
in learning the extent to Which Secretary Mnuchin has used government planes for travel
in lieu of commercial planes, and the justification for that use.

17. CREW also sought expedition of its request because the subject matter is
of widespread and exceptional media interest and the requested information involves
possible questions of the govemment’s integrity that affect public confidence As CREW
explained, the American public, Which Will bear the brunt of the tax policy Secretary
Mnuchin is spearheading, has an urgent need for information about the policy’s key co-
architect, especially given the anticipated timeframe Within which that tax policy is likely
to be considered and debated in Congress.

18. To date, CREW has not received any response from the Treasury
Department to its request for expedition, or to the FOIA request itself, despite the FOIA’s
requirement that agencies make a determination whether to grant a request for expedition
within ten calendar days of its receipt. The Treasury Department has not even
acknowledged receiving CREW’s request.

19. CREW has now exhausted all applicable administrative remedies

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PLAINTIFF’S CLAIMS FOR RELIEF

CLAIM ONE
(Failure to Grant Expedition)

20. Plaintiff repeats and re-alleges paragraphs 1-19.

21. Plaintiff properly asked that the Treasury Department expedite the
processing of plaintiffs FOIA request, which sought agency records within the custody
and control of the Treasury Department, demonstrating widespread and exceptional
media interest in the requested information, which involves possible questions of the
government’s integrity that affect public confidence

22. Defendant Treasury Department failed to comply with the statutory time
limit for making a determination on expedited FOIA requests, and failed to grant
CREW’s request for expedition.

23. Plaintiff has exhausted all applicable administrative remedies with respect
to defendant’S failure to make a determination on plaintiffs request for expedition.

24. Plaintiff therefore is entitled to injunctive and declaratory relief with
respect to the immediate and expedited processing and disclosure of the requested
records

Reguested Relief

WHEREFORE, plaintiff respectfully requests that this Court:

(1) Order defendant Treasury Department to immediately and fully process
plaintiffs August 23 expedited FOIA request and disclose all non-exempt documents
immediately to plaintiff;

(2) Issue a declaration that plaintiff is entitled to immediate processing and

disclosure of the requested records',

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(3) Provide for expeditious proceedings in this action;
(4) Retain jurisdiction of this action to ensure no agency records are

wrongfully withheld;
(5) Award plaintiff its costs and reasonable attorneys’ fees in this action; and
(6) Grant such other relief as the Court may deem just and proper.

Respectfully submitted,

Anne L. eismann

(D.C. Bar No. 298190)

Adam J. Rappaport

(D.C. Bar No. 479866)

Citizens for Responsibility and Ethics
in Washirigton

455 Massachusetts Ave., N.W.

Washington, D.C. 20001

Phone: (202) 408-5565

Facsimile: (202) 588-5020

Dated: September ll, 2017 Attorneysfor Plainti]j"

